Case 1:17-cv-03145-JMS-TAB Document 8 Filed 10/24/17 Page 1 of 1 PageID #: 43




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

Gabriel French,                     )
                                    )
              Plaintiff,            )
                                    )
       vs.                          ) Case No.:1:17-cv-3145-JMS-TAB
                                    )
Portfolio Recovery Associates, LLC, )
                                    )
              Defendant.            )
____________________________________)_________________________________________

                        ORDER OF DISMISSAL WITH PREJUDICE

         Pursuant to Plaintiff’s Motion to Dismiss with Prejudice filed by the Plaintiff in this

cause, this cause is hereby dismissed with prejudice, and each party shall bear its own respective

costs and expenses, including but not limited to attorneys’ fees, incurred in connection with this

cause.




             Date: 10/24/2017




ECF notification:

Copies to electronically registered counsel of record.
